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  11
                            UNITED STATES DISTRICT COURT
  12
                          CENTRAL DISTRICT OF CALIFORNIA
  13
                                     SOUTHERN DIVISION
  14
       RENO MAY, an individual;               Case No.: 8:23-cv-01696 CJC (ADSx)
  15   ANTHONY MIRANDA, an individual;
       ERIC HANS, an individual; GARY         DECLARATION OF ALAN
  16   BRENNAN, an individual; OSCAR A.       GOTTLIEB IN SUPPORT OF
       BARRETTO, JR., an individual;          PLAINTIFFS’ MOTION FOR
  17   ISABELLE R. BARRETTO, an               PRELIMINARY INJUNCTION
       individual; BARRY BAHRAMI, an
  18   individual; PETE STEPHENSON, an        42 U.S.C. §§ 1983 & 1988
       individual; ANDREW HARMS, an
  19   individual; JOSE FLORES, an            Hearing Date:     December 4, 2023
       individual; DR. SHELDON HOUGH,         Hearing Time:     1:30 p.m.
  20   DDS, an individual; SECOND             Courtroom:        9B
       AMENDMENT FOUNDATION; GUN              Judge:            Hon. Cormac J. Carney
  21   OWNERS OF AMERICA; GUN
       OWNERS FOUNDATION; GUN
  22   OWNERS OF CALIFORNIA, INC.;
       THE LIBERAL GUN CLUB, INC.; and
  23   CALIFORNIA RIFLE & PISTOL
       ASSOCIATION, INCORPORATED,
  24
                           Plaintiffs,
  25                v.
  26   ROBERT BONTA, in his official
       capacity as Attorney General of the
  27   State of California, and DOES 1-10,
  28                       Defendants.


                             DECLARATION OF ALAN GOTTLIEB
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   1                        DECLARATION OF ALAN GOTTLIEB
   2      1. I, Alan Gottlieb, am the Vice President of Plaintiff Second Amendment
   3   Foundation (hereinafter “SAF”). I make this declaration of my own personal
   4   knowledge and, if called as a witness, I could and would testify competently to the
   5   truth of the matters set forth herein.
   6      2. SAF is a non-profit membership and donor-supported organization classified
   7   under IRC section 501(c)(4) and incorporated under the laws the state of
   8   Washington with its headquarters in Bellevue, Washington.
   9      3. SAF has over 700,000 members and supporters nationwide, including
  10   thousands of members in California. SAF is dedicated to promoting a better
  11   understanding about our constitutional heritage to privately own, possess, and carry
  12   firearms through educational and legal action programs designed to better inform
  13   the public about gun control issues.
  14      4. SAF has been a pioneer in innovative defense of the right to keep and bear
  15   arms, through its publications and public education programs like the Gun Rights
  16   Policy Conference. SAF also expends significant sums of money sponsoring public
  17   interest litigation to defend its own interests to disseminate information to like-
  18   minded individuals, in an individualized setting like a gun show, but SAF also
  19   seeks to defend the interests of its members in lawsuits like this present effort.
  20      5. Many SAF members in California have valid and current concealed carry
  21   weapon (“CCW”) permits, which enables them to lawfully carry a concealed
  22   firearm in public, so that they can defend themselves (and potentially others) with
  23   lethal force in the event of a life-threatening emergency situation.
  24      6. Because SB 2 would prohibit SAF’s members in California from carrying in
  25   many places where they often carry and are accustomed to concealed carrying a
  26   firearm, the utility of their CCWs, and thus their right to be armed for self-defense
  27   in public, will be severely curtailed and outright eliminated in many common
  28   locations.
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                              DECLARATION OF ALAN GOTTLIEB
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   1      7. For example, under SB 2 they cannot carry where alcohol for consumption
   2   on the premises is served. That means they cannot conceal carry at restaurants they
   3   patronize on a regular basis, nor carry in the parking area outside such an
   4   establishment.
   5      8. SB 2 also prohibits SAF members in California from concealed carrying in
   6   parks and public lands they often frequent. And under SB 2, carry is prohibited at
   7   urgent care facilities which SAF members have used in the past for rapid medical
   8   attention and would use in the future. Under SB 2, carry is prohibited at financial
   9   institutions such as banks that SAF members frequent.
  10      9. Perhaps most significantly, under SB 2, concealed carry is prohibited at any
  11   privately owned commercial establishment that does not affirmatively display
  12   notice that the establishment tolerates concealed carry at the establishment’s
  13   premises. There are many local businesses that SAF members frequent that will
  14   likely not post such signs, forcing them to either not carry there or stop patronizing
  15   them.
  16      10. These are just a few examples of how SB 2 harms our members. Suffice it to
  17   say, SAF believes that SB 2 is abhorrent and incompatible with the general right of
  18   Americans, including Californians who are SAF members, to carry a firearm in
  19   public for self-defense.
  20
               I declare under penalty of perjury that the foregoing is true and correct.
  21
       Executed within in the United States on September 29, 2023.
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                                            2
                               DECLARATION OF ALAN GOTTLIEB
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   1                           CERTIFICATE OF SERVICE
                         IN THE UNITED STATES DISTRICT COURT
   2                       CENTRAL DISTRICT OF CALIFORNIA
   3
       Case Name: May, et al. v. Bonta
   4   Case No.: 8:23-cv-01696 CJC (ADSx)
   5   IT IS HEREBY CERTIFIED THAT:
   6
              I, the undersigned, am a citizen of the United States and am at least eighteen
   7   years of age. My business address is 180 East Ocean Boulevard, Suite 200, Long
       Beach, California 90802.
   8
              I am not a party to the above-entitled action. I have caused service of:
   9
  10   DECLARATION OF ALAN GOTTLIEB IN SUPPORT OF PLAINTIFFS’
       MOTION FOR PRELIMINARY INJUNCTION
  11
       on the following party by electronically filing the foregoing with the Clerk of the
  12   District Court using its ECF System, which electronically notifies them.
  13
       Robert L. Meyerhoff, Deputy Attorney General
  14   California Department of Justice
       300 South Spring Street, Suite 1702
  15   Los Angeles, CA 90013
       Email: Robert.Meyerhoff@doj.ca.gov
  16         Attorney for Defendant
  17
              I declare under penalty of perjury that the foregoing is true and correct.
  18
       Executed September 29, 2023.
  19
  20
                                                     Laura Palmerin
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                                   CERTIFICATE OF SERVICE
